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MICHAEL W. BOLECHOWSKI (SBN: 118725)

MARK c. RASKOFF (sBN: 72330)
MARY A. KlKER (sBN: 137824)

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Attorneys for all Defendants except Prasad Lakireddy

' IN THE UNITED STATES DISTRICT

FOR THE NORTHERN DISTRICT OF CAL[FORNIA

JANE DOE I; JANE DOE II; LAKSHMI
and JARMANTI PRATT[PATI as Parents
and Successors in lnterest of CHANTI
JYOTSNA DEVI PRATTIPATTI; JANE
DOE III; JANE DOE IV; JANE DOE V;
DANE DOE VI; JANE DOE VII; JANE
DOE VIII; SREEKANTH KOLLIPARA;
and All Others Similarly Situated

Plaintiffs,

VS.

LAK[REDDY BALI REDDY, an
individual; VIJAY KUMAR
LAKIREDDY, an individual; PRASAD
LAKH{EDDY, an individual;
JAYAPRAKASH REDDY LAK[REDDY,
an'individual; VENKATESW_ARA
REDDY LAK[REDDY, an individual; and
the businesses they controlled and/or
operated, including PASAND MADRAS
CUISINE, a Califomia corporation;
PASAND, INC., a California corporation;
LAKIREDDY INVESTMENT CO., a
California limited liability corporation; L.B.
REDDY ESTATE CO., a California limited
liability company; JAY CONSTRUCTION,
a California sole proprietorship; ACTIVE
TECH SOLUTIONS,- a California
corporation; VANI COMPUTER
SOLUTIONS, a Califomia limited liability _
corporation; LAKIREDDY BALI REDDY
d/b/a REDDY REALTY CO., a California
sole proprietorship; and ROES l through
100, inclusive,

Defendants.

 

 

Case No. C-02-5_570-WHA

RESPONSES TO PLAINTIFF JANE DOE
I’S FIRST SET OF INTERROGATORIES
TO DEFENDANT PASAND, INC.

 

 

C-02-5570-WHA

 

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PROPOUNDING PARTY: PLAINTIFF JANE DOE I
RESPONDING PARTY: PASAND, INC.
SET NUMBER: ONE

INTERROGATORY RESPONSES
l. State YOUR full name and the address of YOUR principal place of business.
RESPONSE: Pasand Incorpo_rated
2. State all other names that YOU have used (including fictitious business names)
between January l, 1982 and the present.
RESPONSE: None l
3. State YOUR legal status (i.e. corporation, partnership, joint venture,
unincorporated association, etc.) and the place and date YOU were formed.
RESPONSE: Corporation, 2286 Shattucl< Ave. Berkeley, Ca 94704, 3/31/ 1983
4. IDENTIFY every person and ENTITY that has an ownership interest in YOU
and state the size of that interest (i.e. 100 percent, 25 percent, etc.) (If there have been any
changes in ownership since January 1, 1990, describe each change in ownership.)
RESPONSE: Lakireddy Bali Reddy, Vij ay Kumar Lakireddy, Prasad Lakireddy, Jayaprakash
Reddy Lakireddy. lt has never been stated what each persons ownership interest is.
5. l IDENTIFY YOUR officers and directors.
RESPONSE: None
6. IDENTIFY YOUR ORGANIZATIONAL DOCUMENTS.
RESPONSE: None
7. IDENTIFY every ENTITY in which you held, directly or indirectly, a 10 percent
or greater ownership interest at any time between January l, 1990 and the present.
RESPONSE: None
8. Did YOU ever EMPLOY any of the PLAINTIFFS to perform Work in California?
RESPONSE: No

 

 

C-02-5570-WHA .

 

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9. ` If YOUR answer to Interrogatory No.8 is yes, list the PLAINTIFFS whom you
EMPLOYED to perform work in California and provide their respective dates of
EMPLOYMENT.

RESPONSE: N/A

10. For each of the PLAINTIFFS listed in response to Interrogatory No.9,

H)ENTIFY all DOCUMENTS that report the number of hours worked by the PLAINTIFF as
YOUR EMPLOYEE in California and/or the WAGES paid to PLAINTIFF for such work.
RESPONSE: N/A

11. For each of the PLAINTIFFS listed in response to Interrogatory No.9, state whether YOU '
ever EMPLOYED the PLAINTIFF to perform work in California OFF THE BOOKS.
RESPONSE: N/A

12. For each of the PLAINTIFFS listed in response to Interrogatory No.9, provide a complete '
itemization of all money and other things of value that were provided to the

PLAINTIFF (or his or her family) as full or partial compensation for the PLAINTIFF'S labor as
YOUR employee in California and that are not reported in the records YOU identified in response
to Interrogatory No. 10.

RESPONSE: N/A n g

13. For each of the PLAINTIFFS listed in response to Interrogatory No. 9, provide a complete
listing of the hours worked by the PLAINTIFF as YOUR employee in California that are not
reported in the records YOU identified in response to Interrogatory No. 10.

RESPONSE: N/A

14. [DENTIFY every person (other than the PLAINTIFFS) whom YOU EMPLOYED to
perform work in California at any time between January l, 1990 and the present and provide their
respective dates of EMPLOYMENT.

RESPONSE: None

15. F or each person identified in response to Interrogatory No. 14, state whether YOU ever
EMPLOYED the person to perform work in California OFF THE BOOKS. n

RESPONSE: N/A n

 

 

C-02-5570-WHA

 

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16. For each of the PLAINTIFFS, [DENTIFY every person and ENTITY that EMPLOYED

the PLAINTIFF to perform work in California prior to January 1, 2000 and provide the dates of

EMPLOYMENT.

RESPONSE:

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10.

Dated: M 7{ %~§

DOE l often socialized at restaurant defendant Pasand Madras Cuisine, but never
was employed by any defendant

DOE II often socialized at restaurant defendant Pasand Madras Cuisine, but never
was employed by any defendant l
DOE III Worked for various restaurants owned by defendants including Pasand
Madras Cuisine, as well as being employed by J ay Construction from 1995until
the end of 1999.

DOE IV Worked for J ay Construction from 1995 until 1999. DOE IV was paid by
Active Tech Solutions, but never performed any actual work for Active Tech
Solutions. 7

DOE V Worked for J ay Construction from 1995 until 1999.

DOE Vl Worked for J ay Construction from 1995 until 1999.

DOE VII was never employed by a defendant

DOE VIII, worked for Pasand Madras Cuisine from September of 1999 until
January of 2000.

SREEKANTH KOLLIPARA came to the United States in December of 1999 to
work for Active Tech Solutions, but never worked for Active Tech Solutions.
CHANTI JYOSTHNA DEVI PRATTIPATI often socialized at restaurant Pasand

Madras Cuisine, but never was employed by any defendant

BISHOP, BARRY, HOWE, HANEY &RYDER

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yMICHAEL W BOLECHOWSKI
MARK C. RASKOFF

 

 

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Case 3:02-cV-O557O-WHA Document 623-5 Filed 03/15/04 Page 5 of 5

VERIFICATION

;REsPoNsr.s~"- '1'0 ` PLA;NTIFF"' s `i;NTERizoGAi:oRIE-`s "m PAsAm)`-,`. ch. - -.

[ ] 1, Lakireddy Bali Reddy, am a party to this action; the attached document is true of my
own knowledge, except as to the matters that are stated there upon my information and
belief or as to matters Within the knowledge of my counsel of record or their agents, and
as to those matters 1 believe them to be true.

[X] 1 am an officer or agent of the party providing this Verification, and am authorized to
make this Verification for and on its behalf`, and 1 make this Verification for that reason; 1
have read the attached document(s) and know the contents; 1 am informed and believe and
upon that ground allege that the matters stated in said document(s) are true. '

[ ] 1 am one of the general partners of the partnership providing this Verification, and am
authorized to make this Verification for and on behalf of the partnership, and 1 make this
Verification for that reason; l have read the attached document(s) and know the contents; 1
am informed and believe and upon that ground allege that the matters stated in said
document(s) are true.

[ ] _ I am one of the attorneys for the party required to provide this verified Answer; 1 make
this Verification on behalf of said party who is absent from the County of Alameda,
California, where 1 have my office; I have read the attached Answer and know its
contents; 1 am informed and believe and on that ground allege that the matters stated in it

. are true.

[ ] 1 am one of the attorneys for the party required to provide this verified response. 1 make
this Verification for the reason checked below:

[ ] because the facts alleged in the attached document are within my own
personal knowledge, and are not within the knowledge of the responding
party or any ofits agents or employees;’

[ ] because the responding party's whereabouts are unknown to me, said party
has failed to communicate with me concerning the subject litigation, and it
is impossible, impractical or futile to secure said party's Verification to the
attached document;

The matters stated in the attached document are true of my own knowledge, except as to
any matters stated therein upon information and belief, and as to those matters 1 believe
them to be true.

1 declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct and that this Verification was executed on 3 ,[ g --- , 2003 at

"\/W\Voc ,Carifomia.

Lakireddy Bali Reddy

 

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VERIFICATION
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